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 9                                UNITED STATES DISTRICT COURT

10                          NORTHERN DISTRICT OF CALIFORNIA

11                                   SAN FRANCISCO DIVISION

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     IN RE: CATHODE RAY TUBE (CRT)               Master File No. 3:07-cv-05944-SC
13   ANTITRUST LITIGATION,
                                                 MDL No. 1917
14
                                                 [PROPOSED] ORDER GRANTING
15   This Documents Relates To:                  ADMINISTRATIVE MOTION FOR
                                                 ORDER ISSUING LETTERS OF
16   ALL ACTIONS                                 REQUEST FOR TAKING OF
                                                 EVIDENCE FROM WOONG TAE (W.T.)
17                                               KIM AND MYUNG JOON (M.J.) KIM OF
                                                 THE REPUBLIC OF KOREA
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     [PROPOSED] ORDER RE: ADMINISTRATIVE MOTION TO ISSUE LETTERS OF REQUEST FOR TAKING OF
       EVIDENCE FROM WOONG TAE (W.T.) KIM AND MYUNG JOON (M.J.) KIM – CASE NO. CV 07-5944-SC
             Case 4:07-cv-05944-JST Document 2572-6 Filed 05/12/14 Page 2 of 2



 1
            The California Attorney General has moved under Civil Local Rule 7.11 for an order issuing
 2
     Letters of Request to the relevant authorities in the Republic of Korea for the taking of evidence
 3
     from Woong Tae (W.T.) Kim And Myung Joon (M.J.) Kim, ex-employees of LG.
 4
            The Court, having reviewed the administrative motion, any opposition filed to that motion,
 5
     the Letters of Request, and any other relevant records on file in this action, finds that the
 6
     administrative motion of the California Attorney General should be, and hereby is, GRANTED.
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 8          NOW, THEREFORE, IT IS HEREBY ORDERED THAT: The Letters of Request, attached

 9   to this Order, shall be executed and issued out of this Court under this Court’s seal to the relevant

10   authorities in the Republic of Korea.

11          IT IS SO ORDERED.
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            Dated: ______________, 2014                             ____________________________
14                                                                  SAMUEL CONTI
                                                                    United States District Judge
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      [PROPOSED] ORDER RE: ADMINISTRATIVE MOTION TO ISSUE LETTERS OF REQUEST FOR TAKING OF
        EVIDENCE FROM WOONG TAE (W.T.) KIM AND MYUNG JOON (M.J.) KIM – CASE NO. CV 07-5944-SC
